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                                     IN THE UNITED STATES DISTRICT COURT
                                        WESTERN DISTRICT OF ARKANSAS
                                              HARRISON DIVISION


              DAVID STEBBINS                                                                 PLAINTIFF

                     v.                              CIVIL NO. 12-3032

              MICHAEL J. ASTRUE, Commissioner
              Social Security Administration                                                 DEFENDANT

                                                        ORDER

                     Plaintiff has submitted a complaint for filing in this district, together with a request for

              leave to proceed in forma pauperis and a motion for service. ECF. Nos. 1, 3. After review, it

              is found that Plaintiff is unable to pay for the costs of commencement of suit and, accordingly,

              the following order is entered this 15th day of March 2012:

                     Plaintiff's motion for leave to proceed in forma pauperis and motion for service is hereby

              granted. The United States District Clerk is directed to file the complaint and in forma pauperis

              application and collect the filing fee of $350.00 pursuant to the Prison Litigation Reform Act.

              28 U.S.C. § 1915 (b)(1). The court also directs the United States Marshal to serve a copy of the

              complaint, along with a copy of this order, on Defendant, Michael J. Astrue, Commissioner,

              Social Security Administration, as well as Eric H. Holder, Jr., U.S. Attorney General, and Claude

              Hawkins, Assistant U.S. Attorney, without prepayment of fees and costs. Defendant is ordered

              to answer within sixty (60) days from the date of service.

                     IT IS SO ORDERED.

                                                                     /s/ J. Marschewski
                                                                     HON. JAMES R. MARSCHEWSKI
                                                                     CHIEF U.S. MAGISTRATE JUDGE




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(Rev. 8/82)
